               Case 1:19-cv-00855-RP Document 1 Filed 08/30/19 Page 1 of 5



                                          UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION


EVA ROBERTS,                                                   §
     Plaintiff,                                                §
                                                               §
v.                                                             §     CIVIL ACTION NO. 1:19-CV-855
                                                               §
RUCKER RESTAURANT                                              §
HOLDINGS LLC and                                               §
RRH-AUSTIN, LLC,                                               §
     Defendants.

                                        DEFENDANTS’ NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

          Now come Defendants RUCKER RESTAURANT HOLDINGS LLC and RRH-

AUSTIN, LLC (herein “Defendants”) pursuant to 28 U.S.C.A. §§ 1332, 1441 and 1446, and

give notice to this Court of the removal of the case styled: Eva Roberts v. Rucker Restaurant

Holdings LLC and RRH-Austin, LLC, Cause Number D-1-GN-19-004305 in the District Court,

201st Judicial District of Travis County, Texas (“Lawsuit”) to the United States District for the

Western District of Texas, Austin Division, and respectfully shows as follows:

                                         The Parties & Procedural History

          1.        Eva Roberts (“Plaintiff”) filed her Original Petition styled: Eva Roberts v. Rucker

Restaurant Holdings LLC and RRH-Austin, LLC, Cause Number D-1-GN-19-004305 on July 25,

2019 in the 201st Judicial District Court of Travis County, Texas. In her Lawsuit, Plaintiff makes

allegations of negligence against the Defendants and pleads “Plaintiff seeks monetary relief of

over $1,000,000,” exclusive of interest and costs, satisfying 28 U.S.C §1332(a). See Plaintiff’s

Original Petition included in Exhibit A.




Defendants’ Notice of Removal                                                                  Page 1 of 5
19-012340/Roberts.2019-08-30 Def Notice Removal Federal.docx
                Case 1:19-cv-00855-RP Document 1 Filed 08/30/19 Page 2 of 5



           2.        Defendant Rucker Restaurant Holdings LLC was served with the Lawsuit by

service on the Secretary of State of Texas on July 31, 2019. Defendant RRH AUSTIN, LLC has

not been served but both Defendants filed a timely Answer and entered an appearance in the

Lawsuit.

           3.        The State Court Petition alleges that Plaintiff, Eva Roberts is an individual who is

a resident of Texas. The State Court Petition further alleges that both Defendant RRH-Austin,

LLC and Defendant Rucker Restaurant Holdings, LLC are foreign corporations with their

principal place of business being in Mesa, Arizona, thereby establishing diversity of the parties

in this case.

                                    Removal Based on Diversity Jurisdiction

           4.        Defendants file this Notice of Removal as required by 28 U.S.C § 1446, removing

this case to the U.S. District Court for the Western District of Texas, Austin Division because it

falls within this Court’s diversity subject-matter jurisdiction under 28 U.S.C. § 1332.

           5.        Defendants’ filing of this Notice of Removal is timely under 28 U.S.C. § 1446(b)

because the Lawsuit and citation in this action were first served on July 31, 2019, by service

upon Defendant Rucker Restaurant Holdings LLC, making the last day to remove August 30,

2019. Defendant RRH-Austin, LLC, was not served but filed its answer to join in this removal.

           6.        Removal is proper because it is judicially admitted by Plaintiff that there is

complete diversity between the Plaintiff and Defendants and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs. See 28 U.S.C. § 1332(a):

       a) Plaintiff’s Original Petition states she is a resident of Williamson County, Texas.1




1
    See Plaintiff’s Original Petition included in Exhibit 1.


Defendants’ Notice of Removal                                                                    Page 2 of 5
19-012340/Roberts.2019-08-30 Def Notice Removal Federal.docx
                  Case 1:19-cv-00855-RP Document 1 Filed 08/30/19 Page 3 of 5



          b) Plaintiff’s Original Petition pleads and thereby judicially admits Defendant RRH-

             AUSTIN, LLC is a foreign corporation whose principal office is located at 1945 West

             Main Street, Mesa, Arizona 85201.

          c) Plaintiff’s Original Petition pleads and thereby judicially admits Defendant RUCKER

             RESTAURANT HOLDINGS, LLC is a foreign corporation whose principal office is

             located at 1945 West Main Street, Mesa, Arizona 85201.2

          d) The amount in controversy exceeds $75,000, excluding interest, costs and attorneys’ fees.

             See 28 U.S.C. § 1332(a).

                                                      Venue is Proper

             7.      Venue of this removed action is proper in this Court because this district and

division embrace the place where the state-court removed action has been pending. 28 U.S.C.A.

§1441(a).

                                                          No Waiver

             8.      By virtue of this removal petition, Defendants do not waive their right to assert

any claims, pleas, or motions, including, if any, pleas in abatement, motions to compel

arbitration, and motions permitted by Rule 12 of the Federal Rules of Civil Procedure.

                      Defendants Have Met the Other Requirements for Removal

             9.      Defendants have complied with all applicable provisions of 28 U.S.C.A. §1441 et

seq., the applicable Federal Rules of Civil Procedure, and the Local Rules in this District.

Defendant was first served with the Original Petition on July 31, 2019. Therefore, Defendants

file this Notice of Removal within the 30-day time-period required by 28 U.S.C. §1446(b).




2
    Id.


Defendants’ Notice of Removal                                                                 Page 3 of 5
19-012340/Roberts.2019-08-30 Def Notice Removal Federal.docx
                Case 1:19-cv-00855-RP Document 1 Filed 08/30/19 Page 4 of 5



9.        Defendants attach hereto those materials required to be filed upon removal in accordance

with Rule 81 of the Local Rules for the United States District Court, Western District of Texas.

Additionally, the filing fee of $350.00 has been tendered to the Clerk of the United States

District Court for the Western District of Texas, Austin Division, along with the original Notice

of Removal.

                                                        Attachments

          10.       Pursuant to 28 U.S.C. § 1446(a) and Rule 81, attached are the following

documents:

All pleadings, process, orders and all filings in the State Court Action              Exhibit “A”

Copy the State Court Docket Sheet                                                     Exhibit “B”

Index of matters being filed                                                          Exhibit “C”

A list of all counsel of record, including addresses, telephone numbers and           Exhibit “D”
parties represented.

A copy of the “Notice to State Court of Removal to Federal Court”                     Exhibit “E”
(without exhibits) that will be filed with the District Clerk of
Travis County, Texas.

                                                  Notice to State Court

          11.       Pursuant to 28 U.S.C. § 1446(d), Defendants shall promptly serve a copy of this

Notice of Removal on Plaintiff and shall promptly file a copy of this Notice of Removal with the

District Clerk of Travis County, Texas. A copy of the “Notice to State Court of Removal to

Federal Court” (without exhibits) that will be filed with the District Clerk of Travis County,

Texas is attached as Exhibit “E”.

          WHEREFORE, PREMISES CONSIDERED, Defendants RUCKER RESTAURANT

HOLDINGS LLC AND RRH-AUSTIN, LLC request that this action be removed from the 201st

Judicial District Court, Travis County, Texas to the United States District Court for the Western



Defendants’ Notice of Removal                                                              Page 4 of 5
19-012340/Roberts.2019-08-30 Def Notice Removal Federal.docx
               Case 1:19-cv-00855-RP Document 1 Filed 08/30/19 Page 5 of 5



District of Texas, Austin Division, and that this Court enter such further orders as may be

necessary and appropriate.

                                                  Respectfully submitted,

                                                  LAW OFFICE OF R.E. (FELIX) COX
                                                  1100 NORTHWEST LOOP 410, SUITE 370
                                                  SAN ANTONIO, TX 78213-2200
                                                  (210) 949-0166 MAIN
                                                   (855) 949-1338 FACSIMILE


                                                  ________________________________
                                                  SHAN MARIE EGLISKIS
                                                  State Bar No. 24059712
                                                  Egliss1@nationwide.com
                                                  ATTORNEY FOR DEFENDANTS
                                                  RUCKER RESTAURANT HOLDINGS, LLC
                                                  And RRH-AUSTIN, LLC


                                           CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of August, I electronically filed the foregoing
instrument with the Clerk of the Court using CM/ECF and hereby certify that I have faxed a
copy of the above and foregoing, to the following non-CM/ECF participant:

          Robert L. Ranco
          DC Law, PLLC
          1012 W. Anderson Ln
          Austin, TX 78757
          512-220-1800
          512-220-1801 Fax
          robert@texasjustice.com
          Attorney for Plaintiff, Eva Roberts



                                                      ___________________________________
                                                          SHAN MARIE EGLISKIS




Defendants’ Notice of Removal                                                               Page 5 of 5
19-012340/Roberts.2019-08-30 Def Notice Removal Federal.docx
